 Case 1:21-cr-00536-JSR   Document 14    Filed 06/19/23   Page 1 of 45




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------- x
UNITED STATES OF AMERICA                            :
                                                    :
                              Plaintiff,            :        1:21-CR-536 (JSR)
                                                    :
v.                                                  :
                                                    :
JOSEPH JAMES O’CONNOR                               :
                                                    :
                              Defendant.
                                                    :
                                                    :
                                                    :
--------------------------------------------------- x


   DEFENDANT JOSEPH JAMES O’CONNOR’S MEMORANDUM ON
                      SENTENCING
 Case 1:21-cr-00536-JSR                      Document 14               Filed 06/19/23             Page 2 of 45


                                         TABLE OF CONTENTS

                                                                                                               Page

INTRODUCTION....................................................................................................... 2
JOSEPH’S PERSONAL HISTORY AND CHARACTERISTICS ............................ 3


          2. JOSEPH’S BACKGROUND AND UPBRINGING .................................. 5
          3. JOSEPH’S NATURE AND PERSONALITY .......................................... 24
B. THE NATURE AND CIRCUMSTANCES OF THE OFFENSES ..................... 27
          1. SDNY INDICTMENT .............................................................................. 28
          2. NDCA INFORMATION .......................................................................... 29
C. A SENTENCE OF TIME SERVED SATISFIES THE GOALS OF
      PUNISHMENT AND DETERRENCE ........................................................ 32
          1. JOSEPH HAS BEEN PUNISHED SEVERELY ...................................... 32
          2. DETERRENCE ......................................................................................... 32
D. THE KINDS OF SENTENCES AVAILABLE ................................................... 36
          1. INCARCERATION IN A U.S. LOW SECURITY PRISON
                WOULD BE DANGEROUSLY HARSH, AS WELL AS
                DISPROPORTIONATE TO PUNISHMENT FOR A U.S.
                CITIZEN ........................................................................................... 36
          2. OTHER TYPES OF PUNISHMENT ARE AVAILABLE ...................... 39
E. THE SENTENCING GUIDELINES RANGE SHOULD BE
      DISREGARDED........................................................................................... 39
F. A SENTENCE OF TIME SERVED WILL NOT CREATE
       UNWARRANTED SENTENCING DISPARITIES .................................... 40
CONCLUSION ......................................................................................................... 41




                                                           -i-
 Case 1:21-cr-00536-JSR                       Document 14               Filed 06/19/23              Page 3 of 45




                                       TABLE OF AUTHORITIES

                                                                                                                   Page

Cases

Handa v. Clark,
   401 F.3d 1129 (9th Cir. 2015) .............................................................................. 38

Pepper v. United States,
   562 U.S. 476 (2011) ............................................................................................. 40

United States v. Adelson,
   441 F. Supp. 2d 506 (S.D.N.Y. 2006) (Rakoff, J.), aff’d, 301 F.
   App’x 93 (2d Cir. 2008) ....................................................................................... 40

United States v. Conti,
   14-cr-00272 (S.D.N.Y. April 28, 2014) (ECF No. 229) ...................................... 37

United States v. DeRusse,
   859 F.3d 1232 (10th Cir. 2017) ............................................................................ 41

United States v. Gupta,
   904 F. Supp. 2d 349 (S.D.N.Y. 2012) (Rakoff, J.), aff’d, 747 F.3d
   111 (2d Cir. 2014) ................................................................................................ 40

United States v. Mallatt,
   No. 4:13CR3005, 2013 WL 6196946 (D. Neb. Nov. 27, 2013) .......................... 41

United States v. Morgan,
   255 F. Supp. 3d 869 (E.D. Wis. 2017) ................................................................. 41

United States v. Navinder Singh Sarao,
   No. 15 CR 75 (N.D.Ill. Jan. 28, 2020) ................................................................. 39

United States v. Ramirez-Ramirez,
   365 F. Supp. 2d 728 (E.D. Va. 2005) ................................................................... 38

United States v. Takkas,
   15-cr-00252 (E.D.N.Y May 20, 2015) (ECF No. 730) ........................................ 38

Statutes

8 U.S.C. § 1226(c)...................................................................................................... 37

18 USC § 3632(d)(4)(A) ............................................................................................ 38

18 USC § 3632(d)(4)(A)(i) .................................................................................. 38, 39

18 USC § 3632(d)(4)(C) ............................................................................................ 39

18 USC § 3632(d)(4)(E)............................................................................................. 39


                                                            -ii-
 Case 1:21-cr-00536-JSR                   Document 14            Filed 06/19/23           Page 4 of 45




Other Authorities

BOP Program Statement 5100.08 .............................................................................. 36




                                                      -iii-
 Case 1:21-cr-00536-JSR          Document 14        Filed 06/19/23    Page 5 of 45




                                  INTRODUCTION


       Every sentence must be tailored to the individual defendant and crimes of

conviction. Here, the story of who Joseph O’Connor is, how he came to commit the

crimes for which he will be sentenced, and the reasons this Court should sentence

him to time served are one. Joseph’s has been a sad story to date, following an easy-

to-plot path from his birth to Your Honor’s courtroom. It is also, however, a story

that with equal predictability will end in a good place.

                                         ***




                                          -2-
Case 1:21-cr-00536-JSR   Document 14   Filed 06/19/23   Page 6 of 45
Case 1:21-cr-00536-JSR   Document 14   Filed 06/19/23   Page 7 of 45
Case 1:21-cr-00536-JSR   Document 14   Filed 06/19/23   Page 8 of 45
 Case 1:21-cr-00536-JSR          Document 14        Filed 06/19/23      Page 9 of 45




lockdowns, and the period leading up to his arrest (“Late Teens”); and (e) his life and

development in prison since his arrest (“Prison Years”).

        a. Early Years

        Joseph was born in Liverpool, England on June 2, 1999. He is the youngest

of three brothers born to his mother, Sandra. Each brother has a different father, and

Joseph’s father has been estranged from him and his mother since Joseph’s birth.

His brother Nathan was 13 when Joseph was born; his brother Jake, who had already

been diagnosed with autism, was five.

        Joseph’s first few years were marked by serious parental conflict. See Sandra

O’Connor Stat., Ex. C.2, at 1-3; see also Agnes O’Connor Ltr., Ex. E, at 1. Joseph’s

father did not want a child, and upon learning Sandra was pregnant, demanded she

have an abortion. Sandra O’Connor Stat., Ex. C.2, at 1. When she refused, he

attempted to abort the baby himself through beatings. E.g., id. (describing one

occasion “involving punching her to the face . . . which resulted in her losing

consciousness . . . [after which he] continued kicking her whilst on the ground”); see

also id., at 2 (noting he abused her “on her way to the maternity unit whilst in

labor.”).

        The attacks continued after Joseph’s birth, including vicious verbal abuse and

persistent efforts to control Sandra and Joseph. Agnes O’Connor Ltr., Ex. E, at 1

(“his aim was to isolate Sandra completely from her family and friends”); see also

Sandra O’Connor Stat., Ex. C.2, at 2 (noting the police discovered “listening devices

in her home to monitor her and be aware of her contacts and locations.”).

        Sandra was Joseph’s sole provider, working as a lawyer while serving as a

full-time, single mother to her three children while continuing to face horrific abuse.

Id. She reported Joseph’s father to the police on multiple occasions over the first few

years of Joseph’s life but with little effect. Agnes O’Connor Ltr., Ex. E, at 1.

                                          -6-
Case 1:21-cr-00536-JSR           Document 14        Filed 06/19/23       Page 10 of 45




       After a particularly vicious assault where Sandra suffered 17 separate head

injuries, she decided to leave her other children (Nathan was in his final year at

school; Jake’s father refused to allow him to move) and escape with Joseph to start a

new life. Sandra O’Connor Stat., Ex. C.2, at 2-3; see also Agnes O’Connor Ltr., Ex.

E, at 1 (“it was a difficult time for us as a family and severely impacted upon all

[our] lives but we all agreed she had to give up her existing life.”).

       Sandra successfully settled in southern Spain, securing a full-time position as

a lawyer. Sandra O’Connor Stat., Ex. C.2, at 3.




                                                             Id. Despite her best

efforts, she also returned to Joseph’s father’s abuse. Id. She tried to shield Joseph

from witnessing it, but the effects were evident—even as a very small child, he

obsessively worried that something bad would happen to her. Id. Concerned for

Joseph, after 18 months Sandra returned to Spain with him, this time intending to

stay permanently. Id.

         b. Childhood

       The move was a good one for Joseph: he “enjoyed swimming, going to the

beach . . . and he started to be more settled.” Id. But he remained a nervous, anxious

child, brought about by his distressing first few years: “He displayed daily signs of

anxiety that something bad would happen to his mother.” Id.

       Joseph also began getting into trouble at school. His first teacher noticed

how Joseph responded well to kind treatment, including “encouragement and praise,”

but “badly to criticism and shouting.” Id., at 4. When this teacher left the school, the




                                           -7-
Case 1:21-cr-00536-JSR   Document 14   Filed 06/19/23   Page 11 of 45
Case 1:21-cr-00536-JSR          Document 14        Filed 06/19/23      Page 12 of 45




        His other great obsession, which was to dominate the rest of his childhood,

was gaming. Joseph first started playing computer games at age 7 or 8. Sandra

bought him a “Gameboy” and he immediately became fixated. Id., at 2. He would

play for hours, day and night, trying to progress through the levels on his games to

the exclusion of all else. Id. Fatima recalls that Joseph only wanted “to just play on

his Gameboy,” and he would habitually do it “alone.” Fatima Taleb Ltr., Ex. I,

at 1.

         c. Early Teens

        In the wake of the 2008 financial crisis, Sandra lost her job in Spain. After

living off savings for two years, she and Joseph, aged 10, returned to England.

Sandra O’Connor Stat., Ex. C.2, at 4-5.

        The next phase of Joseph’s childhood brought two important changes: his

unhappy experience at secondary school, where he was bullied; and his further

retreat into himself and the online gaming world. Sandra O’Connor Ltr., Ex. C.3, at

1 (“Joseph’s real problems occurred on returning to England from Spain”); Brian and

Sharon McGuinness Ltr., Ex. F, at 1 (“Joseph’s difficulties really began to

materialize in his early teenage years, when it became apparent he shared no interest

with his peers or their topics of conversation”); Joseph O’Connor Stat., Ex. B.1, at 3

(“my time outside school was all about gaming”).

         i. Bullying




                                          -9-
Case 1:21-cr-00536-JSR   Document 14   Filed 06/19/23   Page 13 of 45
Case 1:21-cr-00536-JSR               Document 14          Filed 06/19/23         Page 14 of 45




Sharon McGuinness Ltr., Ex. F, at 1 (“he began to feel safe only in his home

environment and avoided school and life outside his home”).

        The bullying dominated Joseph’s experience of school and he performed

poorly academically. Id. His schooling was also sporadic. Sandra O’Connor Ltr.,

Ex. C.3, at 1 (“He attended 5 schools in a period of 5 years … The necessity to

change schools all revolved around his being different or abnormal as some teachers

would describe him”). Despite his obvious intelligence, things got so bad that Joseph

spent months at home pending a “managed move” to a Pupil Referral Unit (“PRU”)

for children who are not able to attend a mainstream school. Sandra O’Connor Stat.,

Ex. C.2, at 6.

        At 15, Joseph left the PRU and for the last year of compulsory education

worked from home, attending school only for exams. Sandra O’Connor Ltr., Ex.

C.3, at 3. He then chose not to pursue the traditional path to university, but instead

enrolled at a lower-status “college” for two years. 7 Joseph O’Connor Stat., Ex. B.1,

at 4. He recalls how he “struggled in the weeks leading up to attending college,” and

“the day of enrolment was particularly painful for me”:

        My mother attended with me as I would not have been able to
        attend and speak to the staff about potential courses alone, but
        they were helpful and dealt with me gently after my mother
        explained I was feeling anxious. College was a much better fit
        for me than school as the classes were smaller and the teachers
        were more friendly and helpful. So, although I did not really
        enjoy it, I didn’t hate going . . .

Id,; see also Sandra O’Connor Stat., Ex. C.2, at 6.

        Following college, Joseph opted not to try for university. Joseph O’Connor

Stat., Ex. B.1, at 5 (“I did not want to have to start [at] another new place with




7
  Joseph attended a BTech college, which is a further education college in the UK where students may
study after finishing school at age 16. See Sandra O’Connor Ltr., Ex. C.3, at 3.

                                               - 11 -
Case 1:21-cr-00536-JSR   Document 14   Filed 06/19/23   Page 15 of 45
Case 1:21-cr-00536-JSR          Document 14       Filed 06/19/23      Page 16 of 45




       Joseph developed online friendships with other gamers and could be social in

this context, but it disconnected him further from the real world. Niamh McGuinness

Ltr., Ex. H, at 2 (“He would always stay in his room and always be gaming, I believe

this became an obsessive behaviour and made him feel at ease”). His uncle, Brian,

the closest Joseph had to a father, writes about how he worried that this dynamic led

Joseph “to trust and befriend strangers online as opposed to the real world.” Brian

and Sharon McGuinness Ltr., Ex. F, at 1.

       Initially, Sandra was happy Joseph was safe indoors gaming, away from the

bullying. Sandra O’Connor Stat., Ex. C.2, at 7. Agnes similarly notes how she “did

not really understand this gaming business, but I was aware it was what children of

his generation did, so I wasn’t too concerned.” Agnes O’Connor Ltr., Ex. E, at 3.

She “could hear him sometimes chatting and laughing” with friends online, and she

“was happy to hear this as he had been so troubled and withdrawn that I felt he could

get back on track and perhaps be less isolated.” Id.

       But Joseph’s endless gaming further inhibited his development of life and

social skills—he remained trapped in social amber. Niamh McGuinness Ltr., Ex. H,

at 2 (“Joseph was content gaming and did not see typical teenage behaviour activities

such as ‘parties or hanging out with friends’ fun and thought they were pointless”);

see also Molly McGuinness Ltr., Ex. G, at 2 (“it was apparent that Joseph was

extremely introverted and would prefer his own company over the company of

others”).

       His family started to accept as normal that Joseph would not take part in

anything. Sandra recalls how “he had totally disconnected with the world outside

gaming. He never attended family events or even joined family who were visiting . .

. His only real contact was with his mother who was the only person he could chat

with and not feel discomfort.” Sandra O’Connor Stat., Ex. C.2, at 7; see also Niamh

                                        - 13 -
Case 1:21-cr-00536-JSR           Document 14        Filed 06/19/23      Page 17 of 45




McGuinness Ltr., Ex. H, at 2 (“Joseph would come to the occasional family

gathering but was very quiet and not engaged. You could tell by his body language;

he did not want to be there”).

       Even so, Joseph’s family failed to comprehend the extent to which he had

been absorbed into the online world. They also did not know the increasingly toxic

nature of the community that came to surround him. Sandra O’Connor Ltr., Ex. C.3,

at 1 (“I wish I would have had more insight to this online gaming world he

entered.”). Childish, teenage boy behavior pervaded Joseph’s online community.

There was an insidious culture of “tit-for-tat,” where small arguments often led to

serious consequences. Joseph O’Connor Stat., Ex. B.1, at 6. On the more innocent

end of the spectrum, gamers would report each other to the gaming platform to

suspend the accounts of their competitors, a “tactic to stop winning successful teams

competing or it could be a personal matter after arguing with someone”. Id. One step

up was “doxing,” where someone published another user’s personal details online.

This happened to Joseph, with someone posting his address, piercing his online

anonymity and exposing him to the hackers who frequented the advanced gaming

sites. Id., at 7. He and his family were also repeatedly the victims of “swatting,” the

most serious form of reprisal, in which online adversaries made phone calls causing

emergency services to descend on their opponent’s home. Agnes O’Connor Ltr., Ex.

E, at 3 (police offers “advised me that a person had made serious threats that

someone was harming people in my house”); Sandra O’Connor Ltr., Ex. C.3, at 4

(recalling “hoax calls that I was the victim of being brutally raped by his father or

that I was being stabbed to death”).

       While the real life consequences were serious—nothing says “not a game”

like law enforcement involvement—it was, in fact, all part of the game that

consumed Joseph’s life. Agnes explains that the police informed her gamers were

                                         - 14 -
Case 1:21-cr-00536-JSR          Document 14        Filed 06/19/23       Page 18 of 45




“using these calls as acts of revenge against opponent gamers without realising the

consequences.” Agnes O’Connor Ltr., Ex. E, at 4. “[T]hese gaming platforms even

provided scripted material to use to ensure emergency services attended.” Id.

       Joseph’s first “wake-up call” about the seriousness of his online environment

occurred at age 16, when gamers from Liverpool threatened him and the situation

quickly escalated:

       They posted my address online, and stated they knew which
       college I attended. That was the first time I realised that I was
       not anonymous and not simply a username but someone who
       could be traced. I was threatened that they were going to come
       to my home and assault me. I was very worried as I had
       experienced a similar experience at school, which had led to my
       total disengagement with the school and its pupils thereafter.
       The following day my mum collected me from college, and I
       explained the situation. My mum tried to reassure me, saying
       they were only idle threats. However, later that evening, a video
       showing my home and a boy knocking at my door and my mum
       opening it, was live streamed online. My mum told them to go
       and immediately called the police, [w]hilst we were waiting
       they knocked again, and I could see them being abusive to my
       mum, so I went downstairs and outside to speak with them . . .
       When I got outside and went to approach one person, another
       person was hiding and appeared with a weapon in his hand as
       did another person. Whilst this was happening one of the 4 was
       live streaming to online users. My mum came out and told them
       to go . . . My mum was screaming and kept saying the police
       are coming. I could hear her crying on the phone saying help
       us, where are you? She ran in and came out with metal poles
       and gave me one and said hit him and she grabbed the other guy
       [who was holding] a bat who was threatening to smash her head
       in. They were shocked at this and ran away just before the
       police arrived.

Joseph O’Connor Stat., Ex. B.1, at 7.

        d. Late Teens

       In his late teens, Joseph started to associate with hackers in private

chatrooms. Joseph O’Connor Stat., Ex. B.1, at 6. He met these users in the gaming

community; there were many and they were mostly of a similar age. Id. The

springboard, for Joseph, was through his skills playing Counter-Strike; he was so


                                         - 15 -
Case 1:21-cr-00536-JSR               Document 14          Filed 06/19/23         Page 19 of 45




good at the game that he unlocked the “cheat” version alongside other talented

gamers. To Joseph, this was a social group where he felt accepted and comfortable,

like an advanced version of the gaming community. Joseph explains:

        There was like a hierarchy in the gaming community. I was
        introduced to hundreds of gamers over the years and met what
        I used to class as friends, who were genuine gamers like me, but
        others were hackers. They would tell stories about their
        activities which seemed like a game, and I was impressed by
        them.

Id.

        They continued playing games, but the progression to advanced gaming and

hacking placed Joseph in a far more toxic male teen culture, where computer skills,

risk-taking and bravado were prized, and real life consequences beside the point.

And the point was clear—to earn credit and respect by showing off skills and taking

risks. Id. (“things they did were exciting, and they would brag about their roles”).

A popular forum for hackers is the social media platform, Discord. 10 Sandra

O’Connor Ltr., Ex. C.3, at 8.

        Hackers frequently discussed—and even filmed—the commission and fruits

of their crimes, often posting videos or screenshots to show off their brazenness.

Joseph O’Connor Stat., Ex. B.1, at 9 (“They would brag about their exploits and

show their bitcoin balances displayed on screen to show it was true.”). 11 No thought


10
  With reference to press reports, Sandra notes how this platform is “completely unregulated … but
now is increasingly being mentioned in the media in relation to other criminal activities and
prosecutions and without doubt will feature in many more in the future.” Sandra O’Connor Ltr., Ex.
C.3, at 8.
11
  See, e.g., Leave No Trace: How a Teenage Hacker Lost Himself Online (THE GUARDIAN, October
14, 2021), describing the hacking activities of a Dutch teenager, Edwin Robbe, including how he
would tell his online friends about his hacking exploits, “who didn’t believe him and demanded
evidence”; see also “From Hacking $4.1 Million to Prison” YOUTUBE (Mar. 11, 2022), a video
about Graham Ivan Clark, available at: https://youtu.be/1qsTgOpAIdw; Casual discussions about
crypto hacking “exploits” are easily found on various forums and message board. See, e.g.,
https://www.reddit.com/r/Bitcoin/comments/1wtbiu/how_i_stole_roughly_100_btc_from_an_exchang
e_and/ (a publicly available forum post describing an exploit that a hacker used to withdraw 100
BitCoin from a cryptoexchange).


                                               - 16 -
Case 1:21-cr-00536-JSR           Document 14        Filed 06/19/23      Page 20 of 45




was given to the personal consequences, let alone the consequences their actions

caused to others. And for tunnel-vision Joseph, real life consequences were nowhere

near his radar. Id., at 6 (“It was just a game, nothing seemed real, it wasn’t actual

money, and it was at the time funny exciting [sic] and just an extension of being part

of that online world.”)

        It was in this context that Joseph came to be involved in the cryptocurrency

theft. We discuss the circumstances of this and the other offenses below in Part B,

but in terms of Joseph’s personal development, it was a watershed moment. Id. at 6.

Joseph’s relationship with his co-conspirators soured quickly and he received death

threats regarding the stolen funds. To Joseph, the threats were real and he feared for

his life. He would not leave the house, but received a video “showing where I lived

and a person in the video telling me they were coming for me.” Joseph O’Connor

Stat., Ex. B.1, at 13.

        Sandra and Joseph reported the threat to the police. Id. But Joseph was “still

fearful and felt I had really got myself into terrible trouble.” Id. Sandra had already

made plans for them to return to Spain, but they hastened their departure in response

to the threats. Sandra O’Connor Ltr., Ex. C.3, at 4. Joseph describes the incident as

his “wake-up call.” He had learned that what he was doing was not a “game,” but

dangerous and harmful. Joseph O’Connor Stat., Ex. B.1, at 13. He vowed that this

life was not for him and therefore, in his new life in Spain, he would have no more

part in any thefts.

         i. Return to Spain

        Joseph was turning 19 when he and Sandra moved back to Spain. He had no

plans to pursue further education and he did not have a job. In short, he had nothing

to distract him from his gaming. Id., at 8.



                                         - 17 -
Case 1:21-cr-00536-JSR                  Document 14          Filed 06/19/23        Page 21 of 45




           With so much time on his hands, Joseph immersed himself in his online

world to an even greater extent. Joseph O’Connor Stat., Ex. B.1, at 8 (“I had moved

country, but I was living an identical life to the one I had in England. I stayed awake

all night playing games and slept all day.”) He would never leave the apartment,

except to occasionally go swimming in the communal pool. Id.

           Joseph continued to socialize with other gamers and hackers in the bubble of

his online community. He was proud of his reputation and wanted to increase his

“following.” Id., at 10. One way to do this was to hack into celebrity accounts and

send “shout-outs” to the hacking and wider gaming community. Id. Joseph recalls

that one of his online friends “had been hacking celebrities for years long before I

knew him—he was well known for this . . . . He would add his online username on

the celebrities’ page and something funny and give mentions to other friends,

including me, so others could see he had hacked the account.” Id. 12

             ii. COVID-19 Pandemic

           When the COVID-19 pandemic hit in early 2020, Sandra was in England and

initially could not travel to Spain under the lockdown restrictions. 13 Joseph was

therefore alone for an extended period. Sandra O’Connor Stat., Ex. C.2, at 8. As

Joseph was incapable of self-care, Sandra arranged for a neighbor to act as his

housekeeper—buying groceries, doing laundry, cooking, and cleaning the apartment.

Id. Agnes recalls that Sandra “was out of her mind worrying about Joseph’s inability

to look after himself,” and that she had to employ the neighbor to assist “as she knew

he would be overwhelmed by a simple task.” Agnes O’Connor Ltr., Ex. E, at 5.




12
     We shall cover Joseph’s involvement in these offenses further below.
13
   Spain had closed its borders, and although Sandra had applied for a residency permit, she had not
yet received it, and therefore could not travel to Spain. See Joseph O’Connor Stat., Ex. B, at 8.

                                                  - 18 -
Case 1:21-cr-00536-JSR           Document 14        Filed 06/19/23      Page 22 of 45




       For Joseph, the pandemic was a nullity—he was a hermit before, and the only

change lockdown brought was the absence of his mother. Molly McGuinness Ltr.,

Ex. G, at 4 (“Joseph did not suffer in lockdown, it made zero difference to his life. . .

. [H]e never left his home at all, his life was already being lived this way.”) His

computer use was constant. Id. See also Joseph O’Connor Stat., Ex. B.1, at 8;

Sandra O’Connor Stat., Ex. C.1, at 5-6, Ex. C.2, at 8; Agnes O’Connor Ltr., Ex. E, at

5; Niamh McGuinness Ltr., Ex. H, at 2-3.

       Sandra secured a new apartment in Estepona, which would be closer to

Gibraltar where she intended to work. Sandra O’Connor Stat., Ex. C.2, at 8. The

apartment was in a secluded area, and Joseph’s only contact with the outside world

was with a new housekeeper Sandra hired to care for him. Id. This was how Joseph

spent the months of lockdowns.




       Joseph’s hermit-like existence was so severe that the Spanish National Police

informed Sandra after Joseph’s arrest that they had been conducting surveillance on

the apartment for four months but in all that time they had not seen him: he had been

sitting inside at his computer. Sandra O’Connor Stat., Ex. C.2, at 9. Agnes recalls

that a few days before Joseph’s arrest, when the COVID-19 restrictions had eased,

she travelled with Joseph’s aunt, Sharon, to see Sandra and Joseph in Spain. “He

literally came out of his room [and] hugged me . . . said he was glad I was alive.”

Agnes O’Connor Ltr., Ex. E, at 5. He also, however, explained that he “was in a

game and it was important,” and returned to his room. Id.

         e. Arrest and Imprisonment

       Joseph’s arrest had a profound effect on him.



                                          - 19 -
Case 1:21-cr-00536-JSR   Document 14   Filed 06/19/23   Page 23 of 45
Case 1:21-cr-00536-JSR   Document 14   Filed 06/19/23   Page 24 of 45
Case 1:21-cr-00536-JSR              Document 14          Filed 06/19/23        Page 25 of 45




two years before his arrest, not to engage in any further hacking for theft, he has

since come to realize the gravity of his other crimes.

        Odin and Harry, Joseph’s friends from his time in Málaga prison, note how

he treated them with kindness and respect. Eighteen, far from his home in Norway,

unable to speak Spanish, and in prison for the first time, Odin states he:

        tried to distance myself from mostly everyone on [my] first day,
        but I would soon realise I didn’t have to hide from Joseph . . .
        [who] always told me if I needed anything I could speak to him,
        and so I did . . . He helped me massively building my network
        there by introducing me to his friends.

Odin Kristoffersen Fagervold Ltr., Ex. J, at 2.

        Harry, Joseph’s former cellmate, who is deaf, illiterate, can only read the lips

of people speaking English with his own northern English accent, and nearly twice

Joseph’s age, found the experience of imprisonment in a foreign country so

overwhelming that he was placed on suicide watch. Harry Meadows Ltr., Ex. K, at

2. “Then I meet (sic) Joseph . . . . He approached me and began to speak to me

asking if I was OK . . . . Joseph, as I became (sic) to realize during my time in prison

was so well liked by the other inmates and Prison Officers.” Id. Harry explains how

Joseph introduced him around the prison, completed Harry’s forms, and helped

Harry call his mother: “Joseph undertook this role until my release, willingly with

patience and showed a genuine interest in my family.” Id. 17

        Harry observes of Joseph’s character:

        The help and support were selfless without expectation of
        anything in return and that is truly remarkable, especially as he
        is so young. It is obvious that because of his previous lack of
        real-life social interaction he is almost childlike, like a teenager
        but with an unusual strange mix of maturity in the areas that are
        important. He is very trusting which can be to his disadvantage

17
   On his release, Harry was without money, support or the ability to communicate in a foreign
country. Harry Meadows Ltr., Ex. K, at 4. “I would have been left destitute on the streets and
homeless.” Id. But “Joseph as always came to the rescue and contacted his mum and had her collect
me from the prison.” Id. Sandra proceeded to help Harry with all he needed, including
accommodation, funds and travel.

                                              - 22 -
Case 1:21-cr-00536-JSR            Document 14        Filed 06/19/23       Page 26 of 45




         as he believes what people say is the truth, but I think he was
         learning that this is not always the case especially prisoners. He
         is a kind and generous soul to all he encounters, respectful[,]
         considerate and helpful. His help is given without being asked
         for . . .”

Id., at 5.

         Joseph’s 23-month incarceration has been bewildering and terrifying, but it

has also provided the “time out” he needed to reflect on his life and his future, to

appreciate how he lost all perspective, and to learn—and regret—that his actions had

real and serious consequences. As Molly explains:

         His arrest as far as it has been terrible for him, may be the best intervention in
         living his life more productively in the future. He now knows as an adult he
         can do things and interact and what he endured at school and problems with
         peers is no longer a problem.

Molly McGuinness Ltr., Ex. G, at 4.

             ii. Sentencing




                                           - 23 -
Case 1:21-cr-00536-JSR   Document 14   Filed 06/19/23   Page 27 of 45
Case 1:21-cr-00536-JSR   Document 14   Filed 06/19/23   Page 28 of 45
Case 1:21-cr-00536-JSR             Document 14       Filed 06/19/23      Page 29 of 45




Brian’s daughters, Molly and Niamh, also emphasize Joseph’s caring nature. Molly

explains that as she got older, she learned to appreciate Joseph’s condition and

realized that:

        [T]here is not a mean bone in his body, in fact the opposite, he
        is the most caring kind and gentle person. My dad has a similar
        nature and Joseph has always shared a good relationship with
        him. They are both quiet and we laugh as they sit together
        sometimes not speaking for hours but are comfortable together
        . . . Joseph is not demonstrative with his emotions at all, whether
        sad or happy, he comes across difficult to read but once you
        know him, you will see he is kind, considerate, loyal and gentle
        but a defender of anyone in need.

Molly McGuinness Ltr., Ex. G, at 2-3.

        Niamh similarly describes Joseph as “a very compassionate and caring

person. Joseph would make sure the people around him are okay without him even

realising.” Niamh McGuinness Ltr., Ex. H, at 2. Niamh explains how “Joseph does

not like or understand a person who is a bully. He accepts people for who they are.”

Id. Molly believes that Joseph finds it easiest to display his compassion for

animals—“Joseph is such a lover of animals, that I believe he prefers them to

people.” Molly McGuinness Ltr., Ex. G, at 3; see also Niamh McGuinness Ltr., Ex.

H, at 3 (“He is known for finding stray animals and bringing them home to Sandra to

look after, he thinks this is normal . . .”).

        Joseph’s awareness of those “in need” and his hatred of bullying reveals itself

in the real care and consideration he provides for “outsiders,” particularly those who

are bullied or victimized. Agnes describes how Joseph as a child “was especially


                                            - 26 -
Case 1:21-cr-00536-JSR              Document 14          Filed 06/19/23        Page 30 of 45




kind to anyone who he identified as being vulnerable, whether elderly people, shy

children or children with special needs.” Agnes O’Connor Ltr., Ex. E, at 2. Agnes

recalls an occasion during his early schooling in Spain, where Joseph befriended a

boy with learning difficulties who was the victim of bullying: “Joseph took it upon

himself to be his protector against anyone who was unkind to the boy . . . I felt proud

I had such a warm, caring and kind grandchild.” Id.

        Molly recalls how Joseph intervened at school in England to help an Asian

classmate who was receiving racial abuse. Molly McGuinness Ltr., Ex. G, at 2.

Molly notes that “Joseph could not understand” the abuse: “[He] would intervene at

school and did not care of the consequences, which were many, due to Joseph’s way

of thinking only in a black and white manner of what is right and wrong when

treating a person, he attempted to stand up for his friend.” Id. Agnes notes that

“[t]his side of him never changed, he would defend anyone . . .” Agnes O’Connor

Ltr., Ex. E, at 2.




                                    .

        B. The Nature and Circumstances of the Offenses

        Joseph pled guilty to all the conduct charged at the first opportunity following

his extradition to the United States. 18 He has fully accepted responsibility for his


18
   Upon hiring current counsel, Joseph began pursuing the plea agreement to which he ultimately
pled—one that would consolidate his two cases in New York, allowing his mother to be near him. (At

                                              - 27 -
Case 1:21-cr-00536-JSR                Document 14            Filed 06/19/23         Page 31 of 45




crimes.




          1. SDNY Indictment

           a. Counts One, Two and Four

          Joseph pled guilty to participating at age 18 in the conspiracy to steal

cryptocurrency from a Manhattan-based cryptocurrency company with some of his

former online “friends,” 19 and the subsequent money laundering of the proceeds.

          Joseph introduced other participants in order to carry out the hack, he looked

into the company’s accounts following the hack, he received a portion of the stolen

cryptocurrency, and he engaged in the money laundering of the proceeds. Joseph

admits that he was excited to be part of it at the time. Joseph O’Connor Stat., Ex.

B.1, at 13. He was especially fascinated by analyzing the company’s security

measures and could not believe how easy it was to access the cryptocurrency

accounts. Id. Joseph failed to appreciate the consequences of his actions and the

seriousness of the crime. Id., at 10. He thought of the company as an impersonal

business with impersonal assets. He now realizes this was wrong, and that real




the time, Sandra was continuing to practice and while she needed to be near Joseph, she could not
serve her clients from the West Coast (she ultimately found the plan unworkable, but has nevertheless
been living in New York since Joseph’s extradition.) As such, while Joseph was eventually
extradited, he had offered to waive extradition and return to the U.S. to face the charges more than six
months before.
19
   The word friends appears in quotes since, for example, Joseph never knew any of these people’s
names or met them in real life.

                                                 - 28 -
Case 1:21-cr-00536-JSR                 Document 14           Filed 06/19/23          Page 32 of 45




people’s money was at stake. Id.

         Joseph also learned a lifelong lesson from this crime. As noted above, there

was a dispute over the stolen cryptocurrency, and its escalation—with Joseph

receiving a death threat targeted at his home—terrified him. He realized that he was

in over his head, that it all was real, and vowed to never again participate in any

further theft scams. Id.

         2. NDCA Information

          a. Count One

         Joseph pled guilty to participating in a conspiracy to improperly access

Twitter accounts in July 2020. He received widespread, international press attention

for this, even though his role was peripheral. 20

         Joseph did not plan or orchestrate the hack, or even know about it until he

was contacted by one of the perpetrators, who wanted to know whether Joseph was

interested in purchasing a unique Twitter account. 21 Id., at 11. He explored the

possibility and asked the perpetrator to allow him to look at some accounts, although

he eventually did not choose to proceed with the purchase. Id., at 11, 13.

         Joseph did, however, request and receive proof that the perpetrator had access

to an account he considered purchasing by having him change the name on the

account—the act by which he caused the intrusion. Id., at 11. Joseph also received a

screenshot of Twitter’s internal controls from the perpetrator, which Joseph thought

was cool and thus published on his social media page, advertising to the world his

involvement in a major, criminal breach of Twitter’s security. Id.


20
  See, for instance, THE GUARDIAN, which published an article on May 10, 2023: “Twitter hack: UK
man pleads guilty to hijacking accounts including of Joe Biden and Elon Musk.” Available at:
https://www.theguardian.com/technology/2023/may/10/twitter-hack-uk-man-pleads-guilty-to-
hijacking-accounts-including-of-joe-biden-and-elon-musk.
21
   Certain accounts, like ones with single numerical codes, are particularly desirable in the online
gaming community.

                                                 - 29 -
Case 1:21-cr-00536-JSR           Document 14       Filed 06/19/23      Page 33 of 45




       Joseph had no idea the storm this might (and did) cause, including the intense

publicity and criminal investigation that have come to dominate his life. Id., at 11,

13. He has since learned his lesson, and deeply regrets his involvement.

         b. Count Two

       Joseph pled guilty to accessing Victim One’s TikTok account on August 14,

2020. Like the Twitter hack, this intrusion post-dated Joseph’s return to Spain, when

he vowed not to have involvement in further theft scams. But Joseph was not

looking to steal information or gain anything of monetary value. Id., at 14. Instead,

he hoped to boost his profile in the gaming and hacking community, where, as noted,

status could be gained by accessing celebrity accounts and using them for “shout-

outs” to others immersed in that world. Id. (“online friends had also bragged about

doing similar . . . I was happy being part of a group and happy to go along with

things at the time”).

       Joseph did not intend the hack to be personal, but now sees it was and regrets

invading Victim One’s privacy.

         c. Counts Three, Four and Five

       Joseph also pled guilty to accessing Victim Two’s Snapchat account in June

2019, around the time of his move back to Spain (again, after Joseph had vowed to

have no further involvement in theft scams).

       His purpose in accessing the account was the same as for Victim Two—to

give a “shout-out” from the hacked account to up his status in the gaming/hacking

community. Id. Matters escalated, however, after he and his friends obtained access.

Joseph came across nude photos of Victim Two while looking through the account,

and sent them to his accomplices. Id., at 10-11. One of them then made the extortive

threat. Id. Joseph was not aware that he was going to do this, and wanted no part in

it, but Joseph caused and has accepted responsibility for the extortion. Id., at 10-11,

                                         - 30 -
Case 1:21-cr-00536-JSR           Document 14        Filed 06/19/23      Page 34 of 45




14. He understands he should never have circulated the pictures to his “friends,” and

he is deeply sorry for and ashamed of the emotional distress he caused Victim Two.

            d. Counts Six and Seven

        Joseph pled guilty to making communications containing a threat to injure

Victim Three on or about July 16, 2020, and engaging in a course of conduct that

caused and would reasonably be expected to cause substantial emotional distress to

Victim Three.

        Joseph met Victim Three in a hacking chatroom frequented by Joseph and his

friends. Id., at 11-12. Following a brief online “romance,” a conflict emerged. Id.,

at 12. As noted above, threats were common “tit-for-tat” measures in these forums.

The situation escalated on both sides, and Victim Three posted Joseph’s intimate

picture and messages in the chatroom, which made things more hostile. Id. Victim

Three stated that Joseph would be hacked. Joseph responded disproportionately to

her threat to hack him by “swatting” Victim Three via false 911 calls (as noted

above, common “scripts” of language were used for these calls to ensure the

emergency services responded—a practice Joseph followed). Id. He also directed

towards Victim Three and her family truly hateful, violent, and misogynistic threats

in keeping with the online culture that was his reality for the better part of his young

life. Id.

        The hateful language used in the swatting calls, as well as in the threats to

Victim Three and her family, are horrifying. It is why we note Joseph used scripts he

found online, and that this was a common, albeit extraordinarily reprehensible

practice, to which he was not only exposed in his milieu, but was the victim of

multiple times at a young age.



                                                       We implore Your Honor to view

                                          - 31 -
Case 1:21-cr-00536-JSR          Document 14          Filed 06/19/23   Page 35 of 45




the language in the context Joseph did—aping what he saw in the culture in which he

lived without the capacity to meaningfully understand its effects and impact.

       Joseph cannot justify his actions. He is deeply sorry for and regretful of

them. The situation rapidly escalated, he became defensive, overreacted in a

performative way for an audience of online “friends,” and behaved without

consideration of the consequences. Id., at 12, 15.

       C. A Sentence Of Time Served Satisfies The Goals of Punishment and

Deterrence

       1. Joseph Has Been Punished Severely

       As detailed above, Joseph has been punished severely for his crimes. He has

spent the past 23 months in prison.




                                           .

       2. Deterrence

        a. Joseph Poses No Risk Of Recidivism




                                        - 32 -
Case 1:21-cr-00536-JSR   Document 14   Filed 06/19/23   Page 36 of 45
Case 1:21-cr-00536-JSR            Document 14      Filed 06/19/23      Page 37 of 45




younger,” explaining how “his isolation when he returned to England led to him

losing himself and taking the wrong path and not fulfilling the potential he had”:

       We have spoken extensively and he is excited about his future
       and very regretful about his past and his offending, especially
       as he is upset that he has caused Sandra to put her life and job
       on hold whilst he is in this situation, and genuinely gets upset
       when he talks about the impact it has had on her and his family
       when it was all down to his stupidity and inability to see
       anything in life other than gaming and his online friends . . . I
       believe Joseph can lead a much better life and this experience is
       the catalyst for a new path for him, which will allow him to be
       more social and actively involved in society as a productive
       member without gaming and online “friends”.

Fatima Taleb Ltr., Ex. I, at 2.

       Sandra has assisted Joseph in securing a job for his release. Resolve Energy,

a company based in Liverpool (U.K.), that specializes in business energy and has

worked extensively with prisoners in finding gainful employment, has agreed to offer

Joseph the position of Web Developer Apprentice at a starting salary of £15,000 per

year. Resolve Energy Emp. Offer, Ex. L.2, at 1. Resolve Energy explain that

Joseph’s:

       current skills will be much appreciated in our Development
       team . . . . We believe we can hone and further develop his skills
       in a workplace that has vast experience working with people in
       Joseph’s situation . . . . The Development team is a major focus
       for our expansion over the next few years, which will mean for
       Joseph there will be lots of promotion opportunities once he is
       settled and working through his apprenticeship. Given our
       experience over the last 8 years in working with prisoners I
       think we are a perfect home for Joseph to rehabilitate and get
       his life back on track.

Resolve Energy Ltr., Ex. L.1, at 1.

       With these pillars in place—lessons deeply learned, demonstrated growth, the

return to his mother’s support, and a waiting job—Joseph is set to succeed. Or, put

otherwise, and especially when paired with the severity of the punishment he has




                                         - 34 -
Case 1:21-cr-00536-JSR           Document 14        Filed 06/19/23      Page 38 of 45




absorbed to date, he is set to never return to his old behaviors. Further jail time

serves no beneficial purpose—Joseph has learned his lesson.

         b. Joseph’s Prosecution Has Provided Significant General Deterrence

       Further jail time, with the amplified punishment it carries and danger it poses,

is also unnecessary to send a strong message of general deterrence. Joseph’s case

has already drawn significant media attention. It was widely known that he was

incarcerated pending extradition, and that he was extradited earlier this year to face

the charges and pleaded guilty. The lessons could not be more clear: the

government can and will track down and punish hackers. Indeed, if this had

happened to someone else first with the same publicity, literal and logical Joseph

would have known the risks, done the math, and not be before Your Honor for

sentencing.



                                      .

         c. A Sentence of Time Served Will Provide Joseph With the Care He

          Needs

       Section 3553(a)(2)(D) provides that the court “shall consider the need for the

sentence imposed to provide the defendant with the needed educational or vocational

training, medical care, or other corrective treatment in the most effective manner.”




                                                    As demonstrated by the letters and

statements in support of this Memorandum, Joseph also has a small but very close

                                          - 35 -
Case 1:21-cr-00536-JSR          Document 14        Filed 06/19/23      Page 39 of 45




and supportive circle of family and friends, who have vouched to be present in

Joseph’s life to guide him and protect him. This is where Joseph belongs. It is a

support system that will provide Joseph with the care he needs to continue to growth

that his imprisonment began, and that has him poised to become a contributing

member of society.




                                    .

       D. The Kinds of Sentences Available

       1. Incarceration in a U.S. Low Security Prison Would Be Dangerously

Harsh, As Well As Disproportionate to Punishment for a U.S. Citizen

       Bureau of Prisons (“BOP”) policy requires all non-U.S. citizens to serve any

sentence in a low, medium or high security facility. See BOP Program Statement

5100.08 at 50 (“A male or female inmate who is not a citizen of the United States . . .

shall be housed in at least a low security level institution”). Federal prison camps

(“FPCs”), to which a U.S. offender like Joseph would otherwise go, are unavailable.

This means that Joseph would do much harder time than a U.S. citizen convicted of

the same crime:

   •   Whereas FPCs are fenceless, low security prisons are surrounded by two
       perimeter barriers, each reinforced by multiple coils of razor wire, gun
       towers, and armed patrols. Inside, low security prisons employ extensive
       video surveillance and tightly control inmates’ lives through, among other
       things, a minimum of five daily “counts” (including a count during the
       middle of the night), random pat-downs, and strip-searches whenever they are
       removed from the facility for a visit or health appointment. These prisons
       also frequently undergo unpredictably long “lockdown” periods during which
       inmates are confined to quarters and denied recreation, visitation and
       telephone calls.

   •   Compared with FPCs that typically house 100 to 400 inmates, low security
       prisons usually have between 1,200 and 1,500 (and often exceed their

                                         - 36 -
Case 1:21-cr-00536-JSR          Document 14        Filed 06/19/23      Page 40 of 45




       designed maximum capacity). The overcrowding in low security prisons is
       extremely stressful for inmates and noise is constant. The size of these
       institutions and the ratio of staff to inmates virtually guarantee unsafe and
       unsanitary conditions (leading to widespread infectious diseases and
       violence).

See Sent’g Mem. at 21, United States v. Conti, 14-cr-00272 (S.D.N.Y. April 28,

2014) (ECF No. 229).




                                .

       Prison in the United States would also be excessively punishing for Joseph

because he would receive no visitors for lengthy periods. His mother took the

extraordinary step of suspending her legal practice and renting an apartment in New

York to be close to Joseph until his sentencing. Sandra O’Connor Ltr., Ex. C.3, at 1.

She cannot afford to continue this for a prison term, and will soon have to return to

England for work.




       Finally, it is worth briefly noting that after completion of any further period

of incarceration, Immigration and Customs Enforcement (“ICE”) will be required to

immediately move Joseph to an ICE detention facility where he will be forced to

await deportation back to the U.K. See 8 U.S.C. § 1226(c) (requiring detention of

criminal alien upon completion of prison sentence); Sent’g Mem. at 13, United States

v. Takkas, 15-cr-00252 (E.D.N.Y May 20, 2015) (ECF No. 730) (noting DOJ’s

confirmation that foreign defendant “will be quickly bundled into custody by ICE

                                         - 37 -
Case 1:21-cr-00536-JSR                 Document 14            Filed 06/19/23         Page 41 of 45




agents [following prison term] and locked up until he is deported”); United States v.

Ramirez-Ramirez, 365 F. Supp. 2d 728, 732-733 (E.D. Va. 2005) (post-sentence

immigration detention generally “mean[s] a further term of detention until his

removal has been completed”).

         Although Joseph would not challenge his removal, deportation can involve

long delays. See, e.g., Handa v. Clark, 401 F.3d 1129, 1132 (9th Cir. 2015) (noting

that five weeks transpired between arrest by ICE for visa overstay and removal to the

U.K.). The conditions in ICE detention facilities are often worse than prison, and the

experience serves as another amplification to the punishment of incarceration based

solely on Joseph’s citizenship. 23

         Taken together, further incarceration is not only unnecessary for Joseph, but

will place him at undue risk from himself and others while unfairly being far harsher

than incarceration for a similarly situated US citizen. 24


23
  A January 2019 DHS inspector general report on ICE detention contractors found “serious
deficiencies such as significant understaffing, failure to provide sufficient mental health observation,
and inadequate monitoring of detainees with criminal histories.” Conditions in Migrant Detention
Centres, AMERICAN OVERSIGHT (May 23, 2023),
https://www.americanoversight.org/investigation/conditions-in-migrant-detention-centers. Reports of
overcrowding, unsanitary conditions, staff shortages, and lack of basic facilities like heat have been
persistent. See, e.g., US migrant centres: Photos show 'dangerous' overcrowding, BBC (Jul. 2, 2019),
https://www.bbc.com/news/business-48842434; Eileen Sullivan, A.C.L.U. Says Immigration
Detention Facility Should Be Shut Down, NYT (Sept. 22, 2022),
https://www.nytimes.com/2022/09/22/us/politics/aclu-ice-immigration-detention html; Camilo
Montoya-Galvez, Watchdog recommends relocation of detainees from ICE facility, citing unsanitary
conditions and staff shortages, CBS NEWS (Mar. 18, 2022),
https://www.cbsnews.com/news/immigration-and-customs-enforcement-detention-center-watchdog-
recommends-relocation-of-detainees/.
24
   In addition, because Joseph faces deportation immediately following his sentence, he cannot take
advantage of recidivism reduction programs ordinarily available to prisoners. Generally, a prisoner
“who successfully completes evidence-based recidivism reduction programming or productive
activities, shall earn time credits[.]” 18 USC § 3632(d)(4)(A). Usually “[a] prisoner shall earn 10 days
of time credits for every 30 days of successful participation in evidence-based recidivism reduction
programming or productive activities.” 18 USC § 3632(d)(4)(A)(i). In addition, a prisoner
determined “to be at a minimum or low risk for recidivating, who, over 2 consecutive assessments,
has not increased their risk of recidivism, shall earn an additional 5 days of time credits for every 30
days of successful participation in evidence-based recidivism reduction programming or productive
activities.” 18 USC § 3632(d)(4)(A)(i). Time credits earned in this way are applied toward prerelease
custody or supervised release. See 18 USC § 3632(d)(4)(C). However, a prisoner who recieves a
final deportation order, as Joseph will here, is not eligible for pre-custody release and cannot apply the
earned time credits. See 18 USC § 3632(d)(4)(E). As a result, a foreign citizen who will be deported
after serving their sentence often serves an additional 2-3 months for each year of the sentence

                                                 - 38 -
Case 1:21-cr-00536-JSR                Document 14          Filed 06/19/23          Page 42 of 45




        2. Other Types of Punishment Are Available

          a. Home Confinement

        As an alternative to incarceration, the Court may impose home confinement

as a condition of Joseph’s release. Such a sentence would impose further

punishment while sparing Joseph from prison in the United States and allowing him

to be cared for by his mother.




                                                                                                    .

          b. Community Service

        A sentence of community service would also provide an avenue for additional

punishment that could be easily monitored by probation regardless of where it takes

place. Should the Court wish to pursue this option, we can readily identify charitable

organizations near Joseph’s home that will take him as a volunteer for the requisite

number of hours.

        E. The Sentencing Guidelines Range Should be Disregarded

        As this Court has repeatedly proclaimed, courts must not presume a

Guidelines sentence is reasonable, e.g. United States v. Adelson, 441 F. Supp. 2d


imposed. This additional imprisonment is particularly punitive here, as every additional month in
prison represents a real risk to Joseph given his condition. See Ex. C.1 at 6.

                                                - 39 -
Case 1:21-cr-00536-JSR   Document 14   Filed 06/19/23   Page 43 of 45
Case 1:21-cr-00536-JSR           Document 14         Filed 06/19/23     Page 44 of 45




       But most importantly, there can be no disparity because time served is the

right sentence in this case. Courts have opted for time served based on a defendant’s

cognitive limitations and youth. But the truth is that there is no analog for Joseph.

There can be no disparity because who Joseph is, the path that led him to Your

Honor, and the one that stretches before him are singular. As stated at the outset, his

story has been sad and easy to plot; the logic tracks. But his future is equally clear:

Joseph has a great path before him, and his punishment to date has given him the

break and perspective he needed to follow it.

       More jail is unnecessary. We ask that you let Joseph return to his mother, his

awaiting job, and a very different, bright future.

                                   CONCLUSION

       For the reasons set forth herein, we respectfully ask that the Court impose a

sentence of time served and return Joseph to the care of his mother.




                                          - 41 -
Case 1:21-cr-00536-JSR   Document 14     Filed 06/19/23    Page 45 of 45




Dated: June 19, 2023

                             Respectfully submitted,

                             By:    /s/ Jeffrey A. Brown

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                               - 42 -
